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                                                    UNITED STATES DISTRICT COURT
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                                                  NORTHERN DISTRICT OF CALIFORNIA
                   10
                                                            OAKLAND DIVISION
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                   12       AFFINITY CREDIT UNION et al.,               CASE NO. 4:22-cv-04174-JSW

                   13                      Plaintiffs,                  ORDER GRANTING STIPULATION
                                                                        TO MODIFY CASE SCHEDULE
                   14             v.                                    PURSUANT TO CIVIL LOCAL RULE
                                                                        6-2
                   15       APPLE INC.,
                                                                        Re: Dkt. No. 136
                   16                      Defendant.

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                                                                             STIPULATION TO MODIFY CASE SCHEDULE
ATTOR NEY S A T LA W
 SAN FRANCISCO
                                                                                          CASE NO. 4:22-cv-04174-JSW
                           Case 4:22-cv-04174-JSW       Document 137          Filed 05/14/25   Page 2 of 2


                       1         Having considered the Parties’ stipulation, IT IS HEREBY ORDERED THAT:

                       2         The case schedule is amended in accordance with the following dates:

                       3
                            Event                       Existing Deadline              New Deadline
                       4
                            Class Certification         May 19, 2025                   June 18, 2025
                       5    Opposition and Supporting
                            Expert Report(s)
                       6
                            Exchange Expert Backup      May 22, 2025 (by 5 pm)         June 23, 2025 (by 5 pm)
                       7    Materials for Class
                            Certification Opposition
                       8    Class Certification Reply   July 22, 2025                  August 19, 2025
                            and Expert Rebuttal
                       9
                            Report(s)
                   10       Exchange Expert Backup      July 25, 2025 (by 5 pm)        August 25, 2025 (by 5 pm)
                            Materials for Class
                   11       Certification Reply
                   12       Close of Fact Discovery     September 15, 2025         October 15, 2025
                            Exchange of Expert          January 23, 2026 (by 5 pm) January 23, 2026 (by 5 pm)
                   13       Report(s)                                              (same)
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                                 PURSUANT TO STIPULATION, IT IS SO ORDERED.
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                           Dated: __May 14, 2025____________            By:
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                                                                              THE HONORABLE JEFFREY S. WHITE
                   19                                                               United States District Judge

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                                                                                   STIPULATION TO MODIFY CASE SCHEDULE
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                            1                     CASE NO. 4:22-cv-04174-JSW
